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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS



 SYNKLOUD TECHNOLOGIES, LLC
                                            Case No. 1:20-cv-10564-PBS
                             Plaintiff,
                                            DEFENDANT’S OPPOSITION TO
               v.                           PLAINTIFF’S MOTION TO AMEND THE
                                            SCHEDULING ORDER
 NUANCE COMMUNICATIONS, INC.

                             Defendant.




        DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION TO AMEND
                       THE SCHEDULING ORDER



       Defendant Nuance Communications, Inc. (“Nuance”) herein respectfully opposes

Plaintiff SynKloud Technology, LLC’s (“SynKloud’s”) Motion to Amend the Court’s

Scheduling Order, Dkt. No. 130.

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   I.      SYNKLOUD’S MOTION TO AMEND THE COURT’S SCHEDULING

           ORDER SHOULD BE DENIED BECAUSE SYNKLOUD FAILED TO

           ESTABLISH THE REQUISITE “GOOD CAUSE” AND BECAUSE

           SYNKLOUD DELAYED IN BRINGING ITS MOTION FOR

           RECONSIDERATION FOR 16 MONTHS

        A scheduling order “shall not be modified except by leave of the judge . . . upon a

showing of good cause.” Fed. R. Civ. P. 16(b); Giannetta v. Boucher, No. 92-1488, 1992 U.S.

App. LEXIS 33313, at *22 (1st Cir. Dec. 22, 1992); Tele-Connections, Inc. v. Perception Tech.

Corp., Civil Action No. 88-2365-S, 1990 U.S. Dist. LEXIS 15507, at *3 (D. Mass. Nov. 5, 1990)

(“under Fed.R.Civ.P. 16(b), a scheduling order shall not be modified except upon a showing of

good cause”).

        “[A]pplication of the ‘good cause’ standard preserves the integrity and effectiveness of

Rule 16(b) scheduling orders.” O'Connell v. Hyatt Hotels, 357 F.3d 152, 155 (1st Cir. 2004).

         SynKloud fails to even cite the “good cause” standard in its Motion to Amend. Further,

SynKloud’s only basis for requesting that the Court amend its Scheduling Order is that

SynKloud has filed a motion asking this Court to reconsider its Claim Construction Order. It is

well-settled that the mere filing of a motion cannot establish “good cause”. See, e.g., Hearn v.

United States, No. 17-CV-3703 (ADS) (SIL), 2018 U.S. Dist. LEXIS 63738, at *4 (E.D.N.Y.

Apr. 16, 2018) (“it is well-settled that the mere filing of a dispositive motion does not, by itself,

provide good cause.”); Actelion Pharm., Ltd. v. Apotex Inc., No. 12-5743(NLH/AMD), 2013

U.S. Dist. LEXIS 135524, at *18 (D.N.J. Sep. 6, 2013) (“clearly the mere filing of a dispositive

motion does not, without more, constitute good cause for issuance of a stay, this Court need not

form[] an opinion as to the merits of the [pending dispositive] motion.”); Herring v. Lapolla




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Indus., No. 2:12-cv-02705-RMG, 2013 U.S. Dist. LEXIS 201527, at *3 (D.S.C. Aug. 30, 2013)

(“the mere filing of a dispositive motion does not constitute ‘good cause’[.]”).

       Moreover, this Court issued its Claim Construction Order, the basis for SynKloud’s

Motion for Reconsideration, 16 months ago. See Dkt. No. 46. SynKloud’s own delay in

bringing its Motion to Amend negates “good cause”. Quaker State Oil Ref. Corp. v. Garrity Oil

Co., 884 F.2d 1510, 1517 (1st Cir. 1989) (“Here, the relevant indicators point uniformly toward

disallowance. Garrity’s tardiness was extreme.”); O'Connell v. Hyatt Hotels, 357 F.3d 152, 155

(1st Cir. 2004) (“Rule 16(b)’s ‘good cause’ standard emphasizes the diligence of the party

seeking the amendment.”)

       Finally, SynKloud’s proposed new schedule is unworkable. See Dkt. No. 130, at 2. If

this Honorable Court were to grant SynKloud’s Motion For Reconsideration, the Parties would

need new expert reports based on the Court’s new claim construction, new expert depositions,

and new summary judgment motions. None of that can be accomplished on SynKloud’s

proposed new timeline.

       SynKloud filed its Complaint in March of 2020, asserting 16 claims of the Asserted

Patent. Over the last 2.5 years, the Parties and the Court have worked diligently, investing

considerable resources, to prepare this case for trial. Nuance is now painstakingly preparing to

go to trial on the single remaining asserted claim, Claim 51. The Court has worked

conscientiously through more than a dozen motions, including two summary judgment motions

and a Rule 11 motion. Only SynKloud’s Motion For Reconsideration and Nuance’s Daubert

Motion remain. See Dkt. Nos. 113 and 129. Given that SynKloud has failed to establish “good

cause,” given that SynKloud delayed 16 months in bringing its Motion For Reconsideration,

Given that Nuance would be severely prejudiced by allowing SynKloud to delay trial on the




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single remaining claim, Nuance asks that this Honorable Court deny SynKloud’s Motion to

Amend the Scheduling Order.



                                                         Respectfully submitted,




                                                         Rachael D. Lamkin
                                                         LAMKIN IN DEFENSE
                                                         One Harbor Drive, Site 300
                                                         Sausalito, CA 94965
                                                         RDL@LamkinIPDefense.com
                                                         916.747.6091

                                                         /s/ Briana R. Cummings__________
                                                         Briana R. Cummings (BBO
                                                         #692750)
                                                         Branch Legal LLC
                                                         31 Church St., Suite 3
                                                         Winchester, MA 01890
                                                         781.325.8060
                                                         781.240.6486 (fax)
                                                         briana@branchlegal.com
                                                         Attorney for Defendant

                                                         Attorneys for Defendant


                                                         /s/___David Greenbaum__________
                                                         David Greenbaum (pro hac granted)
                                                         NUANCE COMMUNICATIONS,
                                                         INC.
                                                         1111 Macarthur Blvd.
                                                         Mahwah, NJ 07430
                                                         Tel: (201) 252-9100


                                                         Attorneys for Defendant Nuance
                                                         Communications Inc.




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                                CERTIFICATE OF SERVICE



I hereby certify that on this 22nd day of September, 2022, a true and accurate copy of the above

and foregoing:

        DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION TO AMEND


Was filed with the Court’s CM/ECF system, which provides service to all counsel of record.



                                                                    ________________________
                                                                          Rachael Lamkin




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